         Case 1:12-cv-01332-ABJ Document 102 Filed 01/13/15 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
COMMITTEE ON OVERSIGHT AND                            )
GOVERNMENT REFORM, UNITED STATES                      )
HOUSE OF REPRESENTATIVES,                             )
                                                      )
                              Plaintiff,              )
                                                      )
               v.                                     )    Case No. 1:12-cv-01332 (ABJ)
                                                      )
ERIC H. HOLDER, JR.,                                  )
in his official capacity as Attorney General of the   )
United States,                                        )
                                                      )
                              Defendant.              )
                                                      )


                                       STATUS REPORT

       Plaintiff Committee on Oversight and Government Reform, U.S. House of

Representatives (“Committee”), respectfully submits this Status Report pursuant to the Court’s

December 23, 2014 Minute Order.

       The 113th Congress ended at noon on January 3, 2015, see U.S. Const. amend. XX, § 1,

and the 114th Congress commenced at noon on January 6, 2015, see id. § 2; H.J. Res. 129, 113th

Cong. (2014) (enacted), available at https://www.congress.gov/113/plaws/publ201/PLAW-

113publ201.pdf (“[T]he first regular session of the One Hundred Fourteenth Congress shall

begin at noon on Tuesday, January 6, 2015.”); 161 Cong. Rec. H1 (daily ed. Jan. 6, 2015),

available at https://www.congress.gov/crec/2015/01/06/CREC-2015-01-06.pdf.

       On the afternoon of January 6, 2015, the House of Representatives, among other things,

adopted House Resolutions 5 and 6. See 161 Cong. Rec. at H27 (vote on H. Res. 5); id. at H28

(H. Res. 6 adopted by unanimous consent).
         Case 1:12-cv-01332-ABJ Document 102 Filed 01/13/15 Page 2 of 4




       House Resolution 5, among other things, authorizes “the Committee on Oversight and

Government Reform of the One Hundred Fourteenth Congress to act as the successor in interest

to the Committee on Oversight and Government Reform of the One Hundred Thirteenth

Congress and the One Hundred Twelfth Congress with respect to” this lawsuit. H. Res. 5, §

3(f)(1)(A)(i), reprinted in 161 Cong. Rec. at H9. House Resolution 5 also authorizes the Chair

of the Committee (when elected) (i) “to take such steps as may be appropriate to ensure

continuation of” this lawsuit, H. Res. 5, § 3(f)(1)(A)(ii), reprinted in 161 Cong. Rec. at H9; and

(ii) “to issue subpoenas related to the investigation into the United States Department of Justice

operation known as ‘Fast and Furious’ and related matters,” H. Res. 5, § 3(f)(1)(B), reprinted in

161 Cong. Rec. at H9

       By adopting House Resolution 6, the House, among other things, elected the Honorable

Jason Chaffetz Chairman of the Committee for the 114th Congress. See H. Res. 6, reprinted in

161 Cong. Rec. at H28.

       On January 6, 2015, after the House adopted House Resolutions 5 and 6, newly-elected

Committee Chairman Chaffetz issued a new subpoena to defendant Eric H. Holder, Jr., a copy of

which is attached hereto as Ex. 1. The new subpoena is substantively identical to the October 11,

2011 subpoena which is attached as Exhibit A to the Complaint (Aug. 13, 2012) (ECF No. 1),

and the January 3, 2013 subpoena which is attached as Exhibit A to the First Amended

Complaint (Jan. 15, 2013) (ECF No. 35). By agreement, undersigned counsel served the new

subpoena by electronic mail on counsel for the Attorney General on January 6, 2015. The

response date on the new subpoena was January 9, 2015, at noon. The response time has passed

and no new responsive documents have been produced by the Attorney General to the

Committee.



                                                 2
         Case 1:12-cv-01332-ABJ Document 102 Filed 01/13/15 Page 3 of 4




       The Committee does not believe it is necessary that the Complaint be amended in light of

(i) the fact that the subpoena issued to the Attorney General on January 6, 2015, seeks identical

documents over the same time period as the subpoenas issued on October 11, 2011, and January

3, 2013, and (ii) this Status Report places on the record all pertinent facts regarding the

commencement of the 114th Congress and the issuance by Chairman Chaffetz of the January 6,

2015 subpoena to the Attorney General.

       Nevertheless, the Committee is prepared to amend its Complaint to recite the facts

relevant to the commencement of the 114th Congress and the issuance by Chairman Chaffetz of

the January 6, 2015 subpoena to the Attorney General, in the event the Court believes such an

amendment is necessary or otherwise appropriate.

                                       Respectfully submitted,

                                       /s/ Kerry W. Kircher
                                       KERRY W. KIRCHER, D.C. Bar # 386816
                                       General Counsel
                                       WILLIAM PITTARD, D.C. Bar # 482949
                                       Deputy General Counsel
                                       TODD B. TATELMAN
                                       Senior Assistant Counsel
                                       ELENI M. ROUMEL
                                       Assistant Counsel
                                       ISAAC ROSENBERG, D.C. Bar # 998900
                                       Assistant Counsel
                                       KIMBERLY HAMM, D.C. Bar # 1020989
                                       Assistant Counsel

                                       OFFICE OF GENERAL COUNSEL
                                       U.S. HOUSE OF REPRESENTATIVES
                                       219 Cannon House Office Building
                                       Washington, D.C. 20515
                                       202/225-9700 (phone); 202/226-1360 (fax)

                                       Counsel for Plaintiff Committee on Oversight and
                                       Government Reform, U.S. House of Representatives

January 13, 2015

                                                  3
         Case 1:12-cv-01332-ABJ Document 102 Filed 01/13/15 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I certify that on January 13, 2015, I served one copy of the foregoing Status Report by

CM/ECF on all registered parties and by electronic mail (.pdf format), on:


              Kathleen R. Hartnett, Deputy Assistant Attorney General
              John R. Tyler, Assistant Branch Director
              Gregory Dworkowitz, Trial Attorney
              Bradley P. Humphreys, Trial Attorney
              U.S. DEPARTMENT OF JUSTICE
              CIVIL DIVISION
              FEDERAL PROGRAMS BRANCH
              Washington, D.C. 20001

              kathleen.r.hartnett@usdoj.gov
              john.tyler@usdoj.gov
              gregory.p.dworkowitz@usdoj.gov
              bradley.p.humphreys@usdoj.gov



                                                    /s/ Kerry W. Kircher
                                                    Kerry W. Kircher
